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Joint SUF Exhibit 12
PRC review Sheets
for Ernest Porter AY7434

 

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Joint SUF Exhibit 13
Expert Report Of Dan Pacholke

 

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EXPERT REPORT OF DAN PACHOLKE

ERNESTPORTER VS. JOHN WETZEL, et al.,
|V|arch 27, 2018

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lNTRODUCTlON:

l have been retained as an expert in penology by Staff Attorney Jame|ia N.
Morgan and Legal Director Bret Grote of the Abolitionist Law Center. l was asked
to review documents and determine whether the Pennsy|vania Department of
Corrections complied with generally accepted practices, principles and standards
with regard to the continued review, placement, and management of Ernest

Porter on death row since his death sentence was vacated in 2003.

METHODOLOGY
1. Reviewed legal documents related to Mr. Porter.
2. Reviewed documents relevant to Mr. Porter placement and management
within the Pennsy|vania Department of Corrections (PADOC).
3. Conducted a review of materials related to the management of and

conditions of confinement for people housed on death row.

ln preparing this report, l have also relied upon my more than thirty-five (35)
years of experience and related training and education in the field of adult
institutional corrections. This experience includes: Correctional Officer (2.5
years); Lieutenant (3 years); Captain (6 years); Superintendent (5 years);
Director of Performance l\/lanagement (4 years); eight years in administration
(Deputy Director Prisons, Director Prisons, Deputy Secretary, and Secretary) in
the Washington State Department of Corrections (WADOC). As a high-ranking
administrator within a correctional agency, l was required to integrate new case

law into the policies and practice of WADOC, amongst my other duties.

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l have worked with 20 states and fourjurisdictions outside of the continental
United States as a consultant with the National lnstitute of Corrections and New
York University and have published a number of articles related to the field. At
New York University, l was co-director of Segregation Solutions, an initiative
assisting correctional agencies to reduce or eliminate the use of segregation
while also maintaining or improving safety in facilities. l co-authored a book and
field guide on prison safety, Keeping Prisons Safe, and co-designed the WADOC
CORE training program and the Correctional Officer Achievement Program. (See

Attachment 1-3: CV)

BACKGROUND:

Ernest Porter is a 56-year-old man who is being housed in the Capital Case Unit
(death row) within the Restricted Housing Unit at SC| GraterfordGreene, a
maximum-security adult male PADOC correctional facility. Mr. Porter has been
held in one of the state’s CCUs, since 1986 following his sentence to death when
he was 26. His death sentence was vacated in

District Court in 2003, but despite this, PADOC continues to keep him housed on
death row in solitary confinement. Recent case law directed the department to
provide a meaningful review of placement for inmates sentenced to death who

subsequently receive post-conviction relief.

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PLACE|V|ENT DEC|S|ON:

ln reviewing the decisions of the PADOC, related to the placement and housing

of Mr. Porter on death row, l considered the factors below.

1.

On June 27, 1986, Mr. Porter was sentenced to death. He was 25 years
old.

Subsequent to his sentence, he was immediately placed and later formally
assigned to PADOC’s Capital Case Unit (death row) where he remains to
this day.

On June 26, 2003, Mr. Porter’s petition for habeas corpus relief was
granted by the District Court. His sentence was vacated and the court
directed that he be resentenced within 180 days or his writ would issue
and he would be sentenced to life in prison.

On February 9, 2017, the Third Circuit issued its opinion in Williams v.
Secretary Pennsylvania Department of CorrectionsL 848 F.3d 549 (3d Cir.
2017), holding that due process limits the PADOC’s ability to house
inmates on death row without meaningful review of placement once they
have been granted post-conviction relief.

On lVlarch 2, 2017, Mr. Porter filed a grievance requesting that he be
moved to general population based on the ruling in Williams.

On lVlarch 20, 2017, PADOC issued an initial review response to Mr.
Porter, denying his grievance and noting that Central Office was working
on implementing the Williams decision but that there had been no

changes to current policy.

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7. On March 27, 2017, Mr. Porter filed an appeal to the initial review
response to his grievance, stating that he believed that he should be held
in general population until the policy was updated.

8. On April 17, 2017, Mr. Porter submitted a request to the Superintendent of
SC| Greene, Robert Gilmore, notifying him that he had not yet received a
response to his appeal despite the requirement that this response be
issued within fifteen days.

9. On April 24, 2017, Mr. Porter sent a follow-up letter to Superintendent
Gilmore noting again that he had not received a response to his March 27,
2017 appeal.

10. The letter was returned to Mr. Porter with a note on the bottom dated April
25, 2017 stating that his response would be forthcoming.

11. ln the Facility Manager’s Appeal Response dated April 24, 2017, the
initial response to Mr. Porter’s grievance was upheld. lt reiterated the
initial response that Central Office was aware of WiIIiams and working on
implementation but that because policy remained unchanged, Mr. Porter
would remain in the Capital Case Unit.

12.0n lVlay 1, 2017, Mr. Porter submitted a final appeal of his grievance to
Ms. Dorina Varner in the Secretary’s Office of inmate Grievances and
Appeals, restating his claim that in light of Williams, he should no longer

be housed on death row.

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13.0n June 2, 2017, Mr. Porter sends a follow-up letter to Ms. Varner stating
that he had not received a response to his final appeal and that the thirty
day deadline required in PADOC policy had expired.

14. ln June of 2018, Mr. Porter will have served 32 years in solitary
confinement. According to a PADOC record, he has not been cited for any

rule violations.

ln 2003, Mr. Porter death sentence was vacated. Despite Mr. Porter no longer
being sentenced to death, PADOC has continued to house him on death row.
Since then, his disciplinary record indicates that his behavior has been perfect,

as it has since he was committed to PADOC custody in 1986.

On February 9, 2017, the Third Circuit issued its opinion in Williams v. Secretary,
PA Department of Corrections, et al., holding that inmates on death row who
have been granted resentencing hearings have a constitutionally protected liberty
interest, thereby requiring a meaningful review for continued placement in solitary
confinement on death row while awaiting resentencing. Furthermore, the court
stated that this “right to procedural due process protections is neither abstract nor
symbolic, but both meaningful and required.” (Williams, 56). The court, citing
Shoats, describes factors that it finds to constitute adequate procedural
protections to include written notice of the reason for his placement and right to a
hearing before the Program Review Committee (PRC), followed by a PRC review

every thirty days that takes into account a personal interview with the inmate,

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counselor and psychological reports, and other factors related to individual, staff,
institutional and public safety. While offering no additional specific requirements,
the court was clear that it expected, as it did in Shoats, that a review “is not an
inconvenient ritual” but rather that “inmates have a right to regular and
meaningful review of their continued placement on death row” [emphasis theirs]

(Williams, 58).

Since the Williams decision, Mr. Porter has used PADOC’s offender grievance
process to repeatedly request that he be transferred off death row to general
population. At least twice he received a response indicating that a change to
policy would be forthcoming in response to the Williams decision. Although Mr.
Porter’s requested a transfer rather than a review of his placement, based on his
exemplary disciplinary record, a meaningful review should result in a finding that

he should be allowed to live in general population.

Despite having told Mr. Porter that policy would be updated to reflect the opinion
in WiIIiams, in a deposition taken in December 5, 2017, PADOC Regional Deputy
Secretary Steven Glunt stated that any effort to transition an inmate from death
row to general population would not occur until there was a final disposition in his
case. This is clearly in violation of the requirement established in WiIIiams that
the PADOC perform a regular and meaningful review of the custody classification
of inmates awaiting a final sentence following the vacating of their death

sentence.

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The factors described by the court in WiIIiams as necessary for adequate
procedural protections offers this basic framework: 1) written notice of reasoning
for placement and opportunity for a hearing; 2) a review every thirty days by a
PRC; that 3) includes an inmate interview and professional input. ln my opinion,
a meaningful review should also include planning and preparation for the

inmate’s transition to the general population.

Traditionally, jurisdictions across the country have utilized segregated death row
housing (solitary confinement) for those sentenced to death. The historical
penological justification for this type of placement was to reduce the inmate’s
ability to escape and to enhance staff and inmate safety. This was based on the
assumption was that these inmates had nothing left to lose. increasingly
however, correctional systems are acknowledging the lack of certainty in these
cases. inmates such as Mr. Porter live for decades on death row while seeking
post-conviction relief. Many eventually have their sentences vacated or die of
natural causes. During this time, they have very few privileges. What they do
have, such as limited calls with family, becomes critically important to these men.
Any negative behavior results in the loss of these minimal privileges, or worse
yet, weakens their likelihood of one day living among others in general population

should their sentence change. They, in fact, have much to lose.

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in the last several years, both the American Correctional Association (ACA) and
the Association of State Correctional Administrators (ASCA) have published
policy guidelines1 and developed new standards2 in an effort to reduce the use
and mitigate the harm associated with the prolonged use of solitary confinement.
These new briefs and standards apply to those in disciplinary segregation,
administrative segregation and those on death row. Through these new
standards, different housing strategies have been developed to reduce the use of
solitary confinement. Housing people in long-term and/or indeterminate solitary
confinement is no longer accepted as the only viable means or a best practice to

manage behavior.

Some states, using an objective set of measures to assess an individual’s
behavior while on death row, have mainstreamed these inmates into general
population or less restrictive means of confinement. Even in states such as
Washington, where segregation is required by statute for all inmates sentenced
to death (RCW 10.95.170), efforts have been made to increase privileges, like
dayroom times with others or access to a kiosk for emailing and more frequent

calls. l will discuss other states’ strategies in further detail later in this report.

ACA standards, though not representing the most progressive or innovative
national practices, do set a bar as the basic practices in which all correctional

systems should be operating at the very least. They are also the most

 

1 https://www.asca.net/pdfdocs/Q.pdf

2 The full 2016 standards are available online at www. aca.org. Select “Standards &
Accreditation”, then “Standards & Committees", and then select “Restrictive Housing Committee”.

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comprehensive and commonly cited guidelines for federal and state correctional
systems in the United States. included in the Restrictive Housing Performance
Based Standards released in 2016 (see footnote 2), is guidance regarding the
transition of inmates out of long-term solitary confinement. Below are the basic

elements, with my commentary as to why these are important.

1. Access to congregate programs, increasing out-of-ce|| time and
group interaction. Congregate activities assist in assessing the
participant in several ways. For example, these activities help to determine
a person’s motivation to change and to safely interact with others. These
activities are also necessary for assessing their behavior around others,
e.g., do they interact appropriately with the instructors and engage in
prosocial practices with their peers in the classroom? Without these
opportunities, correctional professionals lack the information they need to
adequately assess an inmate’s current abilities and limitations in
interacting with other people. Currently, Mr. Porter lacks access to the
congregant programming or other interactive out-of-cell time that would
allow him to further demonstrate his readiness to be placed in general

population.

2. increased education and program opportunities. These programs can

help address underlying criminogenic needs, which are the factors that

research has found most directly relate to an individual's likelihood to re-

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offend. Of these, anti-social values, anti-social personality, criminal peers,
dysfunctional family, low self-control, substance abuse, and a lack of a
prosocial way to occupy one’s time, such as work or school, are the
criminogenic needs that if addressed, make the biggest impact on future
criminal behavior. These programs provide participants with new skills in
order for them to live more productively in general population or when
released. Absent meaningful programs, the facility or system has
abdicated its responsibility to rehabilitate. When Mr. Porter, after receiving
post-conviction relief, should have the opportunity to participate in
therapeutic or rehabilitative activities. There is no programming available
to Mr. Porter on death row. As such, correctional authorities have failed to
provide him with the opportunities that would allow him to further
demonstrate his commitment to self-betterment and living a productive life

in general population.

3. Structured and progressive levels that include increased privileges
as an incentive for positive behavior and/or program participation. it
is a widely accepted concept that providing incentives for positive behavior
is more effective than only addressing negative behavior. it does not
appear that the unit in which Mr. Porter is housed provides many
incentives for positive behavior, but despite this, Mr. Porter has
maintained a remarkably positive behavioral record. Here again, without

the benefit of living in a unit that manages behavior through a system of

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incentives and disincentives, Mr. Porter lacks the opportunity to earn
additional privileges and demonstrate to the PRC his willingness and

ability to self-manage his behavior.

4. Step-down or transition programs. A step-down program includes a
system of review with established criteria to prepare an inmate, typically
those who have been in segregation for an extended period of time or who
cycle through frequently, for transition to the general population or to the
community. Through a gradual lifting of restrictions and increased time
with others, these inmates are better prepared to self-manage in general
population. These programs typically involve a multidisciplinary review
team that includes mental health, case management, and security
practitioners. This team coordinates behavior response and sets transition
goals as it assesses progress. These programs, usually located in specific
housing units, are typically designed with the assumption that the
transitioning inmates were in segregation due to a lack of ability to self-

manage or cope in general population.

Unlike most transitioning inmates, Mr. Porter was placed in solitary
confinement due to his death sentence. Assuming his behavior over the
past 30 years on death row is an indicator of how he would have behaved
had he been sentenced to life, even if he had started in close custody, he

would have likely earned his way to medium custody by this point in his

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sentence. Mr. Porter may find a transition program to be beneficial in that
it offers a more gradual acciimation to general population, or he might be
better off in a medium unit with a stable environment. Unfortunately,
under PADOC’s current policy, Mr. Porter is not eligible to leave death row
and is not afforded the opportunity to examine these options with the PRC

and his counselor.

Taking into account the factors above, l would advise PADOC, absent an
assessment of his criminogenic needs and appropriate program offering, to
employ appropriate strategies for his supportive release to general population.
These strategies should include: 1) release to a facility with the approximate
outer perimeter security; 2) placement in a medium security general population
housing unit with lower level disciplinary issues rather than a higher custody unit
with potentially more severe disciplinary issues; 3) assignment to half-time work,
education, or self-help programs if ineligible for other programming; 4) enhanced
interaction (weekly for the first month, gradually decreasing to monthly) with his
assigned counselor for the first 180 days in general population; and 5) access to
mental health care providers or group meetings as defined by his adjustment
needs. in light of the Williams decision and Mr. Porter’s excellent disciplinary
record, l see nothing that indicates to me that he should continue to be housed in
solitary confinement. it is unnecessary for security purposes, as placement in a
facility with approximate outer perimeter security will address any escape

concerns. it serves no rehabilitative purpose, as it lessens his ability to pursue

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programming and meaningful activities. This placement appears to be punitive

rather than serving any penological purpose at this time.

Restricted Housing: National Perspective

Across the country, a number of states and the federal government have initiated
policies to reduce the use of solitary confinement building on the growing
recognition that long-term isolation is dangerous, counterproductive, and costly.
As referenced above, the Association of State Correctional Administrators (of
which Secretary Wetzel is currently Vice-President) issued a briefing paper on
Restrictive Status Housing Policy Guidelines on April 9, 2013. The American
Correctional Association adopted new performance-based standards in August
2016. Both the ASCA Policy Brief and the new ACA standards speak to the
ovenlvhelming consensus that solitary confinement should be used sparingly and

requires careful and frequent monitoring and review.

Several states have successfully mainstreamed death-sentenced inmates or
eliminated automatic referrals to solitary confinement. iVlissouri classifies death-
sentenced inmates according to the same criteria as all other inmates since 1991
with many death-sentenced inmates mainstreamed into general population.
Between 1991 and 2002, iVlissouri’s death-sentenced inmates in general
population neither committed nor attempted any inmate-on-staff homicides. They

had institutional violence rates similar to those of life-without-parole inmates and

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below those of parole eligible inmates. Other states are also mainstreaming
death-sentenced inmates. Delaware recently announced that it is disbanding
death row and sending those inmates into other housing where they have much
more out-of-cell time and may be housed with non-death row inmates. in
California, a two-tiered approach has been in place for years, of which one tier
more closely resembles a general population high security unit. Additionally,
inmates on death row may participate in contact visiting unless they have
disciplinary issues. Colorado has also reformed its practices and no longer
automatically places death row inmates in solitary confinement. Virginia recently
announced that it made substantial changes to the conditions on death row,
including increased outdoor recreation; contact visits; and congregate group

activities.

CONCLUS|ON

Mr. Porter is a 56-year-old man who has been in solitary confinement for 30
years (over half his life) and has somehow maintained a perfect disciplinary
record over that period of time. His sentenced was vacated in 2003. Also in
2017, the Third Circuit Court of Appeals held that former death row prisoners
could not be maintained in solitary confinement without meaningful review once
the capital sentence had been vacated. To date, Mr. Porter has not been
released from solitary confinement nor has the agency engaged him in a
meaningful review process (as defined by ACA Restricted Housing Performance

Standards or the Policy Guidelines published by the Association of State

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Correctional Administrators). Mr. Porter has pursued his release from death row
(pursuant to the Williams decision) through the PADOC grievance process to no
avail. it is reasonable to conclude that absent court intervention, Mr. Porter will
remain in solitary confinement even though the underlying reason that he is there
has been vacated. Based on the vacatur of his death sentence, his disciplinary
record, and the reasons articulated in the discussion above, l see no reason for

PADOC to continue to house Mr. Porter on death row.

m m
3/27/18

Dan Pacholke Date

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Joint SUF Exhibit 14
Misconduct Report for

Ernest Porter AY7434

 

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Pennsy|vania Department of Correc ions mandreem

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inmate Number: AY7434
inmate Name: PORTER, Ernest

No Niisconduct lnformation found for the selected inmate

 

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JOth SUF EXhibit_ 15
Criminal Docket for Case
No. CP-09-CR-0001136-2008

Commonwcalth vs. Alfonso Sanchez

 

 

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COURT OF CON|NION PLEAS OF BUCKS COUNTY

   

pocket Number: ce-os-cR-0001136-2008
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Court Case

 

Commonwealth of Pennsylvania
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initial issuing Authority: Daniel J. Finei|o .§r. Finai issuing Authcrity: Dsniei J. Fine!io Jr.

Arresiing Agency: Warminster Township Police Dept Arresting Officer: Haro|d, Sean P.

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Commonweaith of Pennsylvania
Page 2 of 43

 

 

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information Act may be subject to civii liability as set forth in 18 F'a.C.S. Section 9183.

 

 

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Date Of Birth:

Aiias Name
Sanchez, Aifonso M.
Sanchez, Affonzo
Sanchez, Fonz

 

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Defendant

 

 

COURT OF CON!N|ON PLEAS OF BUCKS COUNTY

 

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CPCMS 9082

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System of the Commonwealth of Pennsylvania nor the Administra:lve Oft'lce of Pennsytvania Courts assume any liability for inaccurate or delayed
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Case 2:17-cv-OO763-|\/|PK Document 55-3 Fiied 07/09/18 Page 25 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

  

 

 
 
 

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CRiMlNAL DOCKET

Court Case

Commonwea!th of Pennsylvania
v.

Page 4 of 43

 

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2 l Criminai Homicide Hetd for Court (Lower Court) F‘l 18 § 2501 §§ A
3 l Criminai Conspiracy Engaging - Criminai Homlclde }-ield for Court (Lower Court) 121 18 § 908 §§ A1
4 l Crimina| Attempt - Criminal Hornlcide i-ie|ci for Court (Lower Court} F‘l 18 § 901 §§ A
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6 l Criminai Consp§raoy Engaglng - Burgiary Heid for Court (l_ower Couzt) Ft 18 § 903 §§ A1
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Case 2:17-cv-OO763-|\/|PK Document 55-3 Filed 07/09/18 Page 26 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

     
 
 

Docket Number: CP-OS-CR-0001 1 313-2008
CRlM|NAL DOCKET

Court Case

Commonweaith of Pennsylvania
v.
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Page 5 of 43

 
 

Disgosition
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Sentenoe Conditions

 

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2 l Criminai Homicide Heid for Court F1 18 § 2581 §§ A
3 )'Criminai Conspiracy Engaging - Criminai Homicide Heid for Court F1 18 § 903 §§ A1
4 )' Criminai Attempt - Criminat Homicicte He[d for Court F1 18 § 901 §§ A
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6 /Crimina] Cons;)iracy Engaging - Burgiary Heid for Court F‘t 18 § 903 §§ A1
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8 i' Criminai Conspiracy Engaging - Possession Of Held for Court F2 18 § 903 §§ A1
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13 l Criminai Conspiracy Engaging - Aggrava!ed Held for Court F2 18 § 903 §§ Ai
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Of Crime Wllnf
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Case 2:17-cv-OO763-|\/|PK Document 55-3 Filed 07/09/18 Page 27 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 

 

  

Docket Number: ce-os-cR-ooot 136-2003
CR|M|NAL DOCKET

Court Case

 
 

Commonwea|th of Pennsy|vania
v_
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Disgosition

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Sentencing Judge Sentence Date Credit For `t'ime Served
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Sentence Conditions

Defendant advised of Post-Sentence Rights
Consecutl've With Ct.2.

 

 

 

 

 

 

 

 

 

 

 

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Robenstein, Aian M. 16122!2008
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Case 2:17-cv-OO763-i\/|PK Document 55-3 Filed 07/09/18 Page 28 of 64

 

COURT OF CONiMON PLEAS OF BUCKS COUNTY

 
 

   
 

  
  

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Court Case

Commonweaith of Penns lvania
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Disgosition

 

 

 

 

 

 

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Rubenstein, Aian Ni. 10/22/2068'
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Reversed)
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Reversed)
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4 l Criminai Atiempt- Criminal Homiclde Proceed to Court (Conviotion F1 18 § 901 §§ A
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5 l Burg|ary Proceed to Court (Conviction F‘l 18 § 3502 §§ A
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COURT OF COMMON PLEAS OF BUCKS COUNTY

   

 

Docket Number: CP-GQ-CR-0001136-2008
CR|M|NAL DOCKET

Court Case

 

 

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8 l Criminal Conspiracy Engaging - Burglary Proceed to Coun (Conviotion - F‘l 18 § 903 §§ A1
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71 Possession Of FErearm Prohibited Prooeed to Court (Conviction FZ 18 § 8105 §§ A1
Reversed)

8 l Crirnina| Conspiracy Engaging - Possession Of Pmceed to Court (Convic{ion F2 18 § 903 §§ A‘|

Firearm Prohibited Reversed)

9 )'Aggravateci Assauit Proceed to Court (Conviction F‘l 18 § 2702 §§ A1
Reversed)

10 l AQQravafeCf ASSaU|! Proceed to Court (Conviction Fi 18 § 2702 §§ A1
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11 ICrlmEnal Conspiracy Engaging - Aggravated Proceed to Court (anuiction F'l 18 § 903 §§ A1

Assauit Reversed}

12 l Aggravated ASSault Proceeo to CoL:rt (Conviction FZ 18 § 2702 §§ A4
Reversed}

131 Criminat Conspiracy Engaging - Aggrava£od Proceed to Court (Convictign F2 13 § 903 §§ A1

Assault Reversed)

141l Poss instrument Of Crime Wilnt Proceed to Court (Conviction M'l 18 § 907 §§ A
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15 f Crirninai Conspiracy Engaging - Poss |nstrument Proceed to Court (Convici§on NH 13 § 903 §§ A1

Of Crime W/lnt Reversed)

161 Reckiess|y Endangering Another Person Proceed to Court (Conviction M2 18 § 2705
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17 )' Reok!essiy Endangering Another Persrm Prooeed to Court (Conviction M2 18 § 2705
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18 l Reckiess£y Endangering Another Person Prooeod to Court (Conviction MZ 18 § 2705
Reversed)

19 l F|ight To Avoid Apprethria|/F’unish Proceed to Court (Conviction F3 18 § 5126 §§ A
Reversed}

99,999 l Crimina| Conspiraoy Engaging - Crirninal \Mthdrawn ` Fi 18 § 903 §§ Ai

Hornicide

99,999 l Cn'minai Conspiraoy Engaging - Recklessly Withdrawn M2 18 § 903 §§ Ai

Endangering Another Person

99.999 l Poss instrument Of Cn'rne W/|nt V\chdrawn M1 18 § 907 §§ A

CPCMS 9082 Pn'nted: 06!27»'2018

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Case 2:17-cv-OO763-|\/|PK Document 55-3 Filed 07/09/18 Page 30 of 64

 

 

Name: n Thomas Gary Gambardella
District Attorney

Sugreme Court No: 051187
Phone Number(s}:
215-348-6343 (Phone)
Address:
Bucks County District Attorney's Offrce
55 E Court Street
Doytestown, PA 18901

 

Seguence Nurnber CP Fr|ed Bate
1 02."14/2008

On'ginat Papers Received from tower Court
1 02/15/2008
FonNarderi to ct admin for assignment to Judge

1 02126/2008
Notice Returned as Undefiverable

1 03!(}5!2008
Order Scheduling Hean`ng

Gambarde||a, Thomas Gary
03105:'2008

Molt/Eahon, Joim J. Jl'.
03/05/2008

1 03107/2008

Arraigned
vontinuance denied, Motion to Remand-Dismissed

 

  

   

COURT OF CON|MON PLEAS OF BUCKS COUNTY

 
 

Docket Number: CP-DS-CR-0001136-2008
CR|M|NAL DOCKET

Court Case

Commonwea|th of Pennsy|vania
Page 9 of 43

V

Atfonso S` chez

 

Name: Francis John Geoovese
Court Appointed - Private

Su|grerne Court No: 082308

Reg. Status'. Active

Phorte Number{s}:
610-584-4416 (Phone)

M
Motlaney & |V|u|taney
PO Box 1368
Skippack, PA 19474~1368

Reprosenting: Sanchez, A|fonso

 

  

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Document Date Frled By

Court of Common PEeas - Bucks
County

County

Rubenstein, Alan M.

Order dated 3.|'3/08. A hearing is set for 317/08 in courtroom AS at 2pm.

 

GPCMS 9082

Fl’i|'ited: 06.'27»'2018

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COURT OF COMMON PLEAS OF BUCKS COUNTY

 

 

Commonweaith of Pennsyivania

v.
A|fonso Sanchez

 
   

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1 03/1 012008

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2 03/‘! 012008

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Defendant‘s Copy

1 04108/2008
Notice Returned as Unde|iverabie

1 04/18!2008
Commonweaitn's Requested Questions for Voir Dire

1 05/1 312008

Trans fried for March 7, 08 original & 1 copy fried by Denise Fedele-VanWhy (10 pages)
Manctemus signed on 5120/08.

1 07/02/2008
Trans filed for N|ay 22, 08 original only iiied by Denise Fedele-VanWhy (62 pages)
Mandamtrs signed on 711 5108.

1 09:‘05:'2008

Trans fried for May 5, 08 original only (40 pages)

1 09/30/2005
Gui|ty
sentence deferred : death penaity phase of triai.
as to counts 1&2 guilty of murder of the first degree
counts 7&8 did not go to iury, separated from case
motion for demurrer denied cts 9-26
motion in limine granted

Docket Number: CP~UQ»CR-ODIM 1 36-2008

CRiMlNAL DOCKET

Court Case

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Filed By

Court of Common F'|eas - Bucks
County

Court of Commcn P|eas - Bucks
County

Court of Common Pleas - Bucks
County

Court of Common Pieas - Buci<s
County

Rubenstein, A|an lVl.

 

CPCMS 9082

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lnformatlon Act may be subject to civii liability as set forth in 18 F'a.C.S. Section 9183.

 

 

 

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COURT OF CO|V|N|ON PLEAS OF BUCKS COUNTY

 
    

    

Docket Number: CP-DS-C-R-0001186-20087
CR|M|NAL DOCKET

Court Case

 
 

Commonweaith cf Pennsylvania
Page 11 of 43

 

    

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Seguence Number CP Fited Date Document Date Fiied By
3 09130/2008 Bucks County Court Reporter

Exhibits Filed
1 10102/2008 Rubenstein, A|an M.

Hearing HeEd

penaity hearing; sentence deferred courts direction sentence : Mendez Thomas - Life
i_isa Diaz » Death

1 10122/2008 Rubenstein. Alan M.
Order - Sectence/Penalty imposed

County

2 10123/2008 RuiJenstein, Aiar: M.
Court Commitmont State or County Correctionai institution

1 1210312008 Bucks County Court Reporter
Trans filed for Sept 8. 08 9 copies only 1 copy to defendant 1 copy to pa parote board
Mandamus signed on 1213/8 copy to defendant at SCl Camp l-lill inmate # HU2193

1 02109»'2009 Court cf Common P|eas - Bucks
County
Trans nled for Sept 15, 08 original & 7 copies nteci by Contstance D‘Argenio (234 pages)
copy to pa parole board, copy to governors office copy to defendant at SCl chtzdale inmate # l-lu2461

1 03131!2009 Sanchez, Atfonso
Case Correspondence
Deft requested information & transcripts
t 06104/2009 Buct<s County Court Reporter
Trans filed for Sept 16,17.22. 29th and 30 (935 pages) copy of each to pa parole board.
Mandamus signed on 614/9.
1 06105."2009 Bucks County Court Reporter
Trans filed for Sept 10, 08 1 original & 13 copies (297 pages) tiied by Denise FedeEe-Van Why
copy to pa parole board for each defendant

 

 

CPCMS 9082 F’l’il'iled; 0612?/2018

Recent entries made in the court hting offices may not be immediateiy reflected on these docket sheets Neither the courts of the Uni&ed .iudicia|
System of the Commonweaith of Pennsytvanla nor the Administrative Oflice of Pennsylvania Courts assume any liability for inaccurate or deiayed
data, errors or omissions on these reports Docket Sheet information should not be used in place of a criminal history background check which can
on[y be provided by the Pennsylvania State Pc|lce. Moreover an emptoyer who does not compiy with the provlslons ot the Crimina| |-tistory Record
information Act may be subject to civil iiability as set forth in 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-|\/|PK Document 55-3 Filed 07/09/18 Page 33 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

   
 

pocket Number; cP-os-cR-0001136-2003
CR|MINAL DOCKET

Court Case
Commonwea|th of Pennsyivania
V F'age 12 of 43

A|fonsoz

    

Seguence Number

ca area care Document Dsre"
2 06105;2009

Trans filed for Scpt 11, 08 original & 2 copies (354 pages) copy for each deft to pa parole bd

   

Filed By

Bucks County Court Reporter

3 06105[2009 Court of Common Pieas - Bucks
County
Copy of trans for Sept 11, 08 sent to defendant
4 06105/2009 ' Bucks County Court Reportor
Trans filed for Sept 23. 08 original and 12 copies H|ed by Denise Fede|e-VanWhy (254 pages)
copy to pa parole board copy to def at state facility

06105/2009

Trans hied for Sept 25, 08 original & 13 copies filed by Deneise Van Why (212 pages)
copy to pa parole board copy to defendant at state facility

06/05/2009

Trans filed for Sept 9, 08 original & 9 copies filed by Denise Fedeie~Van Why (290 pages)
copies to pa parole board copy to defendant at state facility

06105!2009

Trans filed for Oct 2, 08 original & 10 copies hted by Denise Fectele-Van Why (124 pages)
copy to pa parole board. copy to defendant at State facility.

06105/2009

Trans nleci for Sept 24, 08 originai & 11 copies filed by Denise Fede|e-VanWhy (192 pages)
copy to pa parole board copy to def at SCl facility

9 06105/2009 Bucks County Court Reporter
Trans fited for Sept 26, 08 original & 13 copies H|ed by Denise Fedele-\/an Why (255 pages)
copy to pa parole board copy to def at state faciliity
1 0811 012009 Sanchez, A|fonso
Case Correspondence
sent docket entry

 

CPCMS 9082

 

 

Printed: 06.'271‘2018
System of the Commonwea|th of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any iiabiiity for inaccurate or delayed

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only be provided by the Pennsy|vania State Potice. ivloreover an employer who does not comply with the provisions of the Crimina| History Record
information Act may be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183.

Recent entries made in the court filing of£ices may not be immediately refiected on these docket sheets Neither the courts of the Unifred Judicial

 

Case 2:17-cv-OO763-i\/|PK Document 55-3 Filed 07/09/18 Page 34 of 64

 

COURT OF CONIMON PLEAS OF BUCKS COUNTY

 

pocket Number: cP-os-cR-ooo1136-2ooa
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Court Case

 

Commonwea|th of Penns ivan§a
V y Page 13 of 43
Aifonso Sancbez

 

Seguence Number CP FEied Date Document Date 4 n Filed By
1 11124/2009 1€/23{2009 Ntarino. Heien A.

Post-Convloiion Co||aterai Reiief Act Motion
Petition for i-|abeas Corpus and for Coilateral Reiief from Crm| Conviction pursuant to tire PCRA Act requesting
an Order alEowing a Notice of Appeal to be Eted Nor\c Pro Tunc.
FWD to Court

1 12/03{2009 Michael Wisernan
Entry of Appearance

1 ` f2l08l2009 Robenste§n, A|an M.

Appeal Rights from the Ccnviction and EJeaih Sentence on 10122!08 Are Reinstated
Deft.rnay Hte a notice of appeal, nunc pro tunc. with 30 days ot the date of order

Commonweatth of Pennsylvania
12/08/2009

Mariao, listen A.
12/08/2009

1 12)'29/2009 Marino, Heten A.

Notice of Appeal to the Suprerne Court
from the sentence on 10/22!08
Bucks County Court Reponer
1229/2009
Gambarde||a, Tnomas Gary
12!291'2009
Robenstein, Aian M.
12129/2009
2 12/29/2009 Ntan'no, Heien A.
Motion to Proceed ln Forma Pauperis and For Appointrnent of Counsei
fwd.for consideration

t 01!08{2010 _ Rubenstein, Aian M.

Concise Statement Order
Commonweaith of Pennsylvania
01108/2010
Marino, He|en A.
01/08!2010

 

 

 

CPCMS 9082 Printed! 061'27!2018

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System of the Commonweaith of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or detayed
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information Act may be subject to civil liability as set forth tn 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-i\/|PK Document 55-3 Filed 07/09/18 Page 35 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 

pocket Number; cP-os-cR-ooo1136-2008
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Court Case
Commonweattb of Pennsy|vania
V Page 14 of 43
Aifonso_r 6ancbe2
,N.'l?RlE
Seguence Nurnher CP Fited Date Document Date Fiied By
1 01!25.'2010 Supreme Court of Pennsylvania -
Eastern District
[Jocl<eting Statement from Suprerne Court
605 CAP

1 01/27/2010 Marino, He|en A.

Moiion for Withdraw as Counsei
for stay of the court‘s 118/10 order directing a concise statment of matters and renewed motion for the appt. of

counsel

fwci.for consideration
Commonweaitb of Pennsylvania

01127/2010

1 03/04/2010 Bucks County Court Reporter
Trans filed for Oct 22, 08 original & 8 copies fried by Constance D‘Argenio (19 pages)

1 03/17/20*§0 Robenstein, Aian M.
Opinion

Commonweaith of Pennsylvania
03!171'2010

Marino, Heien A.
03/17!2010

Supreme Court of Pennsylvania -

Middie District
03{17/2010

1 03!2412010 Smithson, Mary K.

Sen.rice of the i_ist of Record Documents Fitect
Commonweaith of Pennsylvania

03124/20$0
Marino, Heien A.

03124]2010

2 03!24{2010 Srnitbson. Mary K.
Compiete Record Sent to Appellate Court

 

 

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System of the Commonwea|th of Pennsylvania nor the Administrative Office of Pennsy|vania Courts assume any liability for inaccurate or delayed
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information Act may be subject to civii liability as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Filed 07/09/18 Page 36 of 64

 

COURT OF CON|MON PLEAS OF' BUCKS COUNTY

 
   

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CR|M|NAL DOCKET

 

Court Case
Commonwea|th of Penns |varria n
V y Page 15 of 43
Aifonso Saochez

 
   

R.
Seguence Nunrber CP Filed Date Document Date Fiied By
'i 041'01/2010 Superior Court of Pennsylvania -
Eastern District
Supreme Court Order

Tne trial court is ordered to rule on counsei's motion to withdraw, motion requesting EFP status and appt.of new
counsel

1 04/27/2010 Supreme Court of Pennsylvania -

Eastern District
Cenincate of RemittalfRemand of Reoord

1 05/04/2010 Rubenstein, Alan M.

Order Granting Motion to Proceed in Forrna Pauperis
Bucks County Court Administration

05/04!2010
Commonweaith of Pennsylvania

05104!2010
Man'no, Heien A.

05!04/2010
2 05/04/2010 Rubenstein, Aian iVi.

Order Scheduling Hearing on Motion for Withdraw as Counsei and Appoiniment of New Counsel
Hrg.scheduied for 6/21!10
Bucks County Court Administration

05/04/2010
Commonweaith of Pennsylvania
05!04/2010
Marino, He|en A.
05{04/2010
1 05:'26!2010 Mctvia§ron, .thn J. Jr.
Entry of Appearanoe
1 06!041'2010 Boyian. Rea B.

Order Granting Motion for WrEt of Habeas Corpus - Ad F’rosequendurn
And Now, June 3, 2010, it is Ordered And Decreed That A Writ Of Habeas Corpus Ad Prosequendurn Be issued
To The Warden At SCi Greene Requiring Hirn To Produce Tne Body Of A|fonso Sancrrez On Monday, 06!21!2010
At 9:30AM For A i-iearing At Bucks County Coonhouse, Doylestown, PA And There To Rernain Until The
Conciusion Of The Hearing And After His Appearance Before The Court To Be Retumed To SCl Greene.

 

 

 

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System of the Commonwealth of Pennsytvania nor the Administrative Office of Pennsylvania Couns assume any iiabiEity for inaccurate or delayed
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information Act may be subject to civil liability as set forth irr 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 37 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

  
 

 

   
  

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CR|M|NAL DOCKET

Court Case

Commonwealth of Pennsylvania
V Page 16 of 43
Alfonso Sancirrez

 

Seguence Nrrrnber CP Fiied Date Document Date Fiied By
1 06121[2010 Robenstein, Aian lvl.
Hearing Heid
Appointment of new counsel - Pennsylvania Capital Representation Project is appointed Courts opinion to

stand. 90 days for counsel to review transcripts and tile appeai. Copy of transcript to be provided

06/221'2010 Mo|‘v|ahon, John .3. Jr.

Petition to Concise Staternent of the Niatters Complained on Appeal
fwcl.

06/22/2010 iViciviahon, John J. Jr.

Concise Statenrent of the iVlatters Comptained on Appeal

06124/2010 Mci\/iahon, John J. .tr.

Case Correspondence
Letter dtd 316/08 addressed to COC enclosing copies of 1925(b) statement and petition to Fiie Nunc Pro Tunc.

071121'2010 Bucks County Court Reporter

Trans filed forJune 21. 10 original only fried by Denise Fedele-VanWhy (14 pages)
2 copies filed on 7/12/10

1 07!13)'2010 Srnittrson, Mary K.

Defendant's copy of transcripts sent to CS| Graterford

09/17/2010 iViarino, He|en A.
Motion for Extension of Time to File Stater'nent of Errors Complained of on Appeal
twd.

09/30/2010 Rubenstein, Aian M.

Order Granting Motion for E)<tension
The date for appeiiant to tile a statement of errors is extendd to tit 5.'11

Commonweaith of Pennsylvania
09130/2010

Marino, He|en A.
09!30/2010

10!28/2010 Sanci'rez, Alfonso

Case Correspondence
Deft requested Docket Eniries. Sent 10/28)'10.

 

 

 

CPCMS 9082 Printeci: 06127.'2018

Recent entries made in the court filing cinces may not be immediateiy reflected on these docket sheets Neither the courts of tire Unified Judicial
Systerrr of the Commonwea|th of Pennsy|vania nor the Administrative Offrce of Pennsylvania Courts assume any iiabiiity for inaccurate or detayed
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only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with tire provisions of the Criminai History Recorct
information Act may be subject to civil iiabitity as set forth in 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 38 of 64

 

COURT OF CONIMON PLEAS OF BUCKS COUNTY

 

 

pocket Number: cP-os_cR-ooo~t 1 36~2008
CR|M|NAL DOCKET

Court Case

 

C o `
omrn nwea|thvof Pennsy|vania Page17of43
Altonso Sanchez

 

Seguence Nurnber CP Fiied Date Document Date Fiied By
1 1129/2010 Sanchez, Aifonso

Case Correspondence
The into for the Court Reporters

1 01/14/2011 No|as, Etitly ii.
Entry otAppearance
Bucks County District Attomey's Office
01/1 412011
2 011'14!2011 iViarino, Helen A.
Appeiants Unopposed iVlotion for Extension of Time to me statement of errors complained of on appeal
fwd
Bucks County District Attorney's Otnce
01/14/2011
Robenstein. A|an M.
01114/2011

01/14/2011 Marino, Helen A.
Appiication for Approvai of Staternent in Absence of Transcript Pursuant andlor to Correct the record

Pursr_rant to Pa.R.A.P. 1923 andr'or ‘i926
fwd

011251'2011 Rubenstein, A|an tV|.

Concise Statement Order
and now this 25th day of January 2011 it is hereby ordered that the date for appe|tant to fite a statement of errors
complained of on appeal is extended to 2114/2011. No further esxtensions of time will be granted
Bucks County District Attomey‘s Ofiice
01/251'2011
Marino, Helen A.
01/251'2011

1 02!14/2011 Marino, Helen A.

Concise Statement of Errors Cornplained on Appeai
Bucks County District Attorney's Ott`rce

02/14/2011
Rubenstein, Alan M.

02!14)'2011

 

 

 

CPCMS 9052 Printed.' 061‘27.'2018

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System ct the Commonweaith of Pennsylvania nor the Administrative Oftice of Pennsylvania Courts assume any liability for inaccurate or detayed
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only be provided by the Pennsy|vania State Police. |‘vloreover an employer who does not comply with the provisions of the Criminai History Record
information Act may be subject to civil iiabitity as set forth in 18 F'a.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 39 of 64

 

COURT OF COMN|ON PLEAS OF BUCKS COUNTY

   
  
   

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Court Case

Commonweaith of Pennsylvania
v.
Atfonso Sanchez

Page 18 of 43

 

 

Seguence Number CP Fiied Date Document Date Fiied By

Service To Service Eiy
issue Date Service Tyge Status Date Service Status
1 04/26/2011 04126{20tt Robenstein, Alarr M.

Suppiernental Opinion
dated 4126)'2011
Bucl<s County District Attorney's Office
04126."2011
Marino, Helen A.
04/26/2011
No|as, Billy H.
04126}2011
Supreme Court of Pennsylvania -

Eastern District
04126/20‘€1

1 05/02/2011 f_~`>mithsonl Mary K.
Service of the List of Record Documents Fiied
Bucks County District Attomey‘s Oti`rce
05102!2011
iviarino, l~ieien A.
05/02)'2011
Noias. Bi|ly H.
05102/2011
Rubenstein, Aian ivl.
05102/2011
2 05102/2011 Smithson, |Vlary i<.
Compiete Record Sent to Appeiiate Court
to Supreme court
1 06/02!2011 No|asl Bitiy i-i.
N|otion for a Ruiing on Appellant's Application for approval of statement in absence of transcript
and/or to correct the record pursuant to PA.R.A.P. 1923 andror1926

fwd
return to tile 6!17/11

1 11/15)'2011 Srnithson, iViary K.
Additiona| |Viateriai Sent to Appei|ate Court
verdict sheet dated 9130/2008

 

 

CF'CMS 9082 Prirrted: 06127!2018

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System ot the Ccrnrnonweaith of Pennsylvania nor the Administrative Otfrce of Pennsylvania Courts assume any liability for inaccurate or deiayed
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information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-|\/|PK Document 55-3 Fiied 07/09/18 Page 40 01 64

 

COURT OF CONI|VION PLEAS OF BUCKS COUNTY

 
 
 

Docket Number: CP-OQ-CR-0001136~2008
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Court Case

Commonwea|th of Pennsylvania
v.
Atfonso §anchez
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Seguence Number CP Fiied Date Document Date Fiied By

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issue Date Service Type Status Date Service Status

Bucks County District Attorney‘s Oftice
1 111 512{}1 1
iV|arino, He|en A.
11/15/2011
Nolas, Billy H.
11115/2011
Rubenstein, Alan |Vl.
1111 512011

1 12.'23/2011 Smithson, iV§ary K.
Additiona| Materia| Sent to Appeiiate Court
|V|otion for ruting on appe|tant‘s application for approvai of statement in absence of transcript and or to correcct

the record pursuant to PA. R.A.P. 1923 and/or 1926
Bucks County District Attomey‘s Ofiice

12123!2011
Marino, Heien A.
12/23/2911
Noias, Bii|y H.
1223/2011
Rubenstein, A|an iV|.
12123.!2011
2 12/23/2011 Man'no, Helen A.
Motiori to Correct the Recoro Pursusnt to Ps.R.APP.P. 1926
fwd

1 01/06/2012 Bucks County District Attorney's Offlce
Brief for Appei|ee Fiied in Supreme Court
Copy in ute

2 01 10612012 Bucks County District Attorney‘s Oftice
Petition for Al|owance of Over-Pagination of Appet|ee's Brief Filed in Supreme Court
Copy in Eie

 

 

CF'CMS 9062 Printe<i.‘ 06127.'2016

Recent entries made in the court i’¢|ing offices may not be immediately reflected on these docket sheets. Neittter the courts of tire Unified .tudicia|
System of the Commonwealth of Pennsytvania nor the Administrative Offrce of Pennsylvania Courts assume any tiabitity for inaccurate or delayed
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information Act may be subject to civil iiab§iity as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-i\/|PK Document 55-3 Fiied 07/09/18 Page 41 01 64

 

COURT OF CONtMON PLEAS OF BUCKS COUNTY

     
 

Docket Number: CP-DS-CR-t}tlt]'HSB-ZOGB
CRiMiNAL DOCKET

Court Case

Commonwealth of Penns ivania
V y Page 20 of 43
Aifonso ,§`,anchez

      

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Segoertce Number CP Fiied Date Document fiate n M\L
Service To Service By
issue Date Service Tyge Status Date Service Status
1 01/31}2012 01127/201 2 Rubenstein, Aian N|.

Order Granting Motion to Correct the Record Pursuant to PA. R. App. P. 1926

Upon consideration of Appeiiant's iV|otion to Correct tire Record and the response, if any, it is hereby ordered that
the |Viotion is GRANTED; it is further ordered that the C|erk of Courts shall promptly forward the iV|otion to Correct
the Record and the attached exhibits and all addt'| verdict sheets from 9130/08 to the PA Supreme Court and that
the exhibits to the Motion to Correct the Record and verdict sheets are certified as true and correct copies of part

of the record on appeal in this case.
Bocks County District Attomey's Offrce

91)'2712012
iviarino, Heierr A.
01/27/2912

1 92109.'2012 Smithson, |V|ary K.
Recorci Corrected and Returned to Supreme Court
per order dated 01131.'12
Bucks County District Attomey‘s Offlce

02109/2012 Hand Deiivered
Marino, Helen A.

92)'{}9)'2012 Maiied
Rubenstein, Aian M.

62!{}9!201 2 interoffice

Supreme Court of Pennsy|vania -
Eastern District
02/09/2912

1 97124.'2013 Sarrchez, A|fonso

Motion for Retum of Property
Forward to court

1 09.'20/2013 Cepparuio, Aibert J.

Order Scheduiing Hearing
AVideo Conference is set for 18!h day ofOctober2013 et 9:30 am in CR No. 3 o fth Bucks County Courthouse.
Commonweatth of Pennsylvania
09/231'2013
Sanchez, A|fonso
09!23)'2013

 

 

CPCMS 9082 Printed: 06127!2018

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COURT OF CON|MON PLEAS OF BUCKS COUNTY

 

 

Dockei.' Number: CP-09-CR-0001136-2008
CR|M|NAL DOCKET
Court Case

 

Commonweaith of Pennsyivania
v.
A|fonso Sanchez

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Seguence Number CF’ Fiied Date Document Date Fiied By
1 ' 10101/2013 Bateman, Watiace H. Jr.

OrderGranting Motion for Writ of Habeas Corpus - Ad Prosequendum

A Writ is issued to the Warden at SCE Greene requring him to produce Deft on October 18, 2013 at 9am nd
remain untii conciauion of Hearing and after his appearance be returned
1 1011 81201 3 Cepparu|o, A|bert J.
Hearing Heid
$373 wilt go towards court costs; $266.66 returned to claimant

1 92106!2914 0111 412014 Bucks County District Attorney's Ol'iice
Answer in Opposition to Petition for Reargument/Reconsideration
Answor is Opposition to Petition for Reargumentheconsideration. Answer in opposition to petition for

reargument/reconsideration from the Orer of the Pennsylvania Supreme Court, Entered December 17, 2913.
Bucks County District Attorney's Offrce

02!(]6/2014
Rubenstein, A|an |Vi.
02106/2014
Superior Court of Pennsyivania -

Eastern District
02196/2014

1 03165!2014 Sanchez, Aifonso
Case Correspondence
Letter written to Judge Rubenstein from defendant regarding video conference

1 09/11/2014 Sanchez, Aifonso
Case Correspondence
sent deft copy of sentence sheet from 10122/08

1 1022/2014 Supreme Court of Pennsylvania -
Eastern District
Case Correspondence
Letter came to hand, placed in frie.

1 10/27/2014 Supreme Court of Pennsy|vania -
Eastern District
Certiiicate ot RemittailRemand of Record

 

CPCMS 9082 Prifiled.' 06127.'2(]18

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System of the Commonwealth of F'ennsyivanie nor the Administrative Ofnce of Pennsy|vania Courts assume any iiabiiity for inaccurate or delayed
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Case 2:17-cv-OO763-i\/|PK Document 55-3 Fiied 07/09/18 Page 43 01 64

 

COURT OF CON!N|ON PLEAS OF BUCKS COUNTY

 
  

pocket Number: cP-os~cR-ooor 1 3e1-2003
CRi|iliiNAt. DOCKET

Court Case

Commonwea|th of Pennsylvania
v.
Aifonso Sanchez

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`Seguence Number CP Fiied Date Document Date Fiied By
2 1012712{}14 1211712013 Supreme Court ot Pennsylvania -

Eastern District
Supreme Court Decision

Judgment of Sentence is AFFIRMED.
There is a concurring Opinion from Nlr. Justice Sayior
There is a concurring Opinion from Mr. Justice Casti||e

3 1012712014 1211712013 Supreme Court of Pennsylvania -
Eastern District

Supreme Court Concurring Opiniori
i‘vir. Justice Say|cr: concurring Opirilon

4 1012712014 1211712013 Supreme Court of Pennsylvania -
Eastern District

Suprerne Court Concurring Opinion
Concurring Opinion: Mr. Chief Justice Castil|e

1 0110812{}15 Cepparuio, Aibert J.
Order Granting Motion for Roturn of Property

1 0112212015 No|as, Bii|y H.
Emergency |V|oton for Stay of Execution
Forward to court

1 0113012015 Sanchez, Alfonso

Post-Conviction Relief Act Petition Fiied
Bucks County District Attorney's Oftice

01130/2015 Hand Deilvered
Sanchez, A|fonso

0113012015 First Class
Lev. Stuart Brian

1212212015
1 0210312015 0210312015 Rubenstein, A|an M.

Order Granting Emergency Motion for a Stay of Execution
AND NOW, this 3rd day of February, 2015, the EMERGENCY |V|OT|ON FOR A STAY OF EXECUTEON is GRANTED.
Aifonso Sanchez, through counse|, has fried a iV|otion for Post-Conviction Coiiaterai Reiief on January 30, 2615.

 

 

 

CPCMS 9082 Printed: 0612712[]18

Recent entries made in the court filing ofnces may not be immediately refiected on these docket sheets Neither the courts of the Unified Judiciai
System of the Corrirnonwealth of Pennsylvania nor the Administrative Ofnce cf Pennsy|vania Courts assume any tiabitity for inaccurate or delayed
data, errors or omissions on these reports. Docket Sheet information shouid not be used in piace cfa criminai history background check which can
only be provided by the Pennsylvania State Potice. Moreover an empioyer who does not comply with the provisions of the Crirninal History Record
information Act may be subject to civii liability as set forth in 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-l\/|PK Document 55'-3 Fiied 07/09/18 Page 44 01 64

 

COURT OF CO|V|MON PLEAS OF BUCKS COUNTY

 
    

  
 
 

 

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CR|MINAL DOCKET

Court Case

Commonweaith of Pennsylvania
Page 23 of 43

 
   

Seguence Number CP Fiied Date Document Date Fiied By

Service To Service By
issue Date Service `t'ype Status Date Service Status
Bucks County District Attomey‘s thce
021(]412015
Nolas, Biiiy H.
02104/2015
1 0910312015 Sanchez, Aifonso

|V|otion to Preclude Counset of Record from Submitting Unauthorized Lega| Fi|ings Pursuant to Ruie 902
PA Ru|e 576 letter sent to defendant Copy to DA and PD.

1 1111212015 Buct<s County District Attorney
Moticn for Court ct Appoint Consei and Esta|blish Scheduling Order
Forward to court

1 1112312015 7 Stewart, Loren Dougherty
Entry of Appearance

i 1210812015 1210712015 Rubenstein. Aian M.
Order‘ Appointing Counselr'Order Directing Answer be Fiied/Order Scheduling Hearing

This Court has received a Notice of Entry of Appearance from Stuart B. Lev, Esquire, Federai Community
Defender Ofiice for the Eastern District of Pennsylvanial and an accompanying "Petitioner's Staternent Regarding
Counset for F‘CRA P|eadings" aligned by Alfonso Sanchez requesting representation Therefore, the appointment
of Stuart B. t_ev. Esquire is hereby GRANTED. -

AND NOW, this 7th clay of December, 2015, the Federai Community Defender thce shail have ninety (90) days
from the date of this Grder to file an Amended Petition for Post~Conviction Re|ief in supplement to the Pro Se
|Viotion for Post'Corrviction Col|atera| Relief filed by Aifonso Sanchez on January 30, 2015.
The Commonwea!th shall have thirty (30) days to file an answer to the Amended Pelition.

A hearing upon this Post-Convictioti Reiief Act Petition is scheduted for TUESDAY, APR|L 19, 2016 at 10190 a.m.
in COURTROOM NO 340. BUCKS COUNTY JUSTICE CENTER, 100 N. MA|N ST., DOYLESTOWN, PA 18901.

THE SHER§FF OF BUCKS COUNTY |S DIRECTED TO TRANSPORT ALFONSO SANCHEZ TO THE BUCKS
COUNTY JUST|CE CENTER FOR TH|S HEAR|NG.
|N COMPL|ANCE W|TH THE COOPERATEON AGREEMENT RELAT|NG TO CONFL|CTS OF COUNSEL lN THE
FIVE~COUNTY SOHTHEASTERN AREA, lNCLUDENG THE UN|TED STATES DlSTRfCT COURT FOR THE
EASTERN DlS`t'R|CT OF PENNSYiu\/ANIA, THE COURT ADMiNiSTRA'E'OR FOR BUCKS COUNTY |S DiRECTED
TO NOT|FY THESE COURTS OF YOUR ATTACHMENT lN BUCKS COUNTY FOR THE SPEClAL LlST|NGS.

Bucks County Court Administratiori

 

 

 

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Recent entries made in the court filing offices may not be immediately reflected on these docket sheets Neilher the courts of the Unilied Judlcla|
System of the Corrlmonwealth of Pennsylvania nor the Administrative Ofiice of Pennsylvania Courts assume any liability ior inaccurate or detayed
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only be provided by the Pennsylvania State Police. tvioreover an employer who does not comply with the provisions of the Crirninal History Record
information Act may be subiect to civil |labiiity as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18' Page 45 01 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

   
 

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CR|M|NAL DOCKET

Court Case

th EP | '
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Service To Service By
issue Date Service type Status Date Service Status
1210812015
Bucks County District Attomey's Offrce
1210812015
Bucks County Sheriff
1210812015
Lev, Stuart Brian
1210812015
1 0112712016 t_ev, Stuart Brian

Motion to Modlfy Scheduting Order
Fwd for consideration

1 0211712016 0211212016 Rubenstein, Alan M.
Order Denying Motlon to Modify the Briet"rng Schedu|e
AND NOW, this 12th day of February, 2016l upon consideration ot the Motion to Modify the Brieung Scheduie filed
by the Petitioner A|tonso Sanchez, and the response to this |Vlotion fried by the Commonwealtn (via letter of

February 1, 2016 attached). the Motiori to |V|odify the Briefing Schedule is DEN|ED.
As noted in this Court's prior Grder of December ?, 2015, the Federai Community Defender Offrce shall frie an

Amended Petition for Post-Conviction Re|ief by Monday, March 7, 2016.
Buotcs County District Attomey's Ofnce
0211812016
Buctts County Shen'ff
0211812016
l_ev, Stuart Brian
0211812016

1 . 0310712016 Lev, Stuait Brian

Post-Conviction Relief Act Petition Fiied
Bucks County Court Administration

0310712016
Bucks County District Attomey's Otnce
0310712016
2 0310?12016 Lev, Stuart Brian

Appendix to Petition for PCRA - \/olume l
Appendr'x to Petition for Writ of Habeas Corpus and for Coliaterai Reiief from Criminal Conviction Pursuant to the
Post Conviction Re|ieiAct, 42 PA.C.S. 9541 et seq. - Vo|ume l

 

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System of the Commonwealth of Pennsylvania nor the Administralive thce ot Pennsylvania Courts assume any liability for inaccurate or delayed
data, errors or omissions orr these reports. Docket Sheet information should not be used in place ot a criminal history background check which can
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information Act may be subject to civii liability as set forth in 18 Pa.C.S. Sectlon 9183.

 

 

 

Case 2:17-cv-OO763-|\/|PK Document 55-3 Fiied 07/09/18 Page 46 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 

Docket Number: CP-OS-CR-0001't36-2008
CR|M|NAL DOCKET

Court Case

 

Commonweaith of Pennsy|vania
v.
Alfonso Sanchez

Page 25 of 43

 

 

Seguence Number CP Fiied Date Document Date Fiied By
3 03107[2016 Lev, Stuz-lrl Brian

Appendix to Petition for PCRA -Vo|ume ||
Appendi)< to Petition for Writ of Habeas Corpus and for Collaterai Re|ief from Crirnina| Conviction Pursuant to the
Post Conviction Relief Act, 42 PA.C.S. 954t et seq. - Voiume ll

4 93)'{}7!2016 Lev, Stuart Brian
Appendix to Petition for PCRA - Vo|ume itt
Appendix to Petition for Writ of Habeas Corpus and for Coilateral Relief from Crirninal Conviction Pursuant to the
Post Corwic:tion ReiiefAct, 42 PA.C.S. 9541 et Seq. ~Volufne iii

5 03!07/2016 Lev, Stuart Brian
Appendix to Petition for PCRA » Voiume lV

Appendix to Petition for Writ of Habeas Corpus and for Co|laterat Reiief from Criminai Conviction Pursuant to the
Post Conviction ReliefAct, 42 PA.C.S. 9541 et seq. ~ Vo|ume iV

6 03107/2{}16 Lev, Stuari Brian
Appenriix to Petition for PCRA -Volume V
Appenrfix to Petition for Writ of Habeas Corpus and for Col|aterai Relief from Crirninal Conviotiori Pursuant to the
Post Conviction ReliefAct, 42 PA.C.S. 9541 et seq. - Voiume V

7 03107.'2016 Levl Stuart Brian
Appendix to Petition for PCRA - Vo|ume Vl

Appendix to Petition for Writ of Habeas Corpus and for Cotlateral Retief from Criminal Conviction Pursuant to the
Post Conviction Reiief Act, 42 PA.C.S. 9541 et seq. - Vo|ume Vl
8 03/07/2016 Lev, Stuart Brian
Appendix to Petition for PCRA - Voiurne V|l
Appendix to Petition for Writ of Habeas Corpus and for Co|Eateral Reiief from Criminal Conviction Pursuant to the
Post Conviction Re|iefAct. 42 PA.C.S. 9541 et Seq. - Voiume Vii

9 03107/2{}16 Lev, Stuart Brian
Appendix to Petition for PCRA ~ Vo|ume Vl||

Appenctix to Petition for Writ of Habeas Corpus and for Collateral Re|ief from Cn'mina| Conviction Pursuant to the
Post Convictiori Relief Act, 42 PA.C.S. 9541 et seq. - Voiume Vili
10 osi<)?rzore` Lev, swan assn
Appendix to Petition for PCRA -Volume iX _,
Appendi)< to Petition for Writ of Habeas Corpus and for Coilateral Relief from Criminal Conviction Purauant to the
Post Conviction Reiief Act, 42 PA.C.S. 9541 et seq. - Vo|ume |X

 

 

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System of the Commonwoatth of Pennsy|vania nor the Administrative Oche of Pennsyivania Courts assume any iiability for inaccurate or delayed
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oniy be provided by the Pennsylvania State F'o|icer Moreovor ao employer who does not compiy with the provisions of the Crirainal l-iistory Reoord
information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-|\/|PK Document 55-3 Fiied 07/09/18 Page 47 of 64

 

COURT OF CON|MON PLEAS OF BUCKS COUNTY
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Court Case

 

Commonwea|th of Pennsy|vania
v.
Atfonso Sanchez

Page 26 of 43

 
   

Seguence Number CP Fiied Date Document Date Fiied By
11 031'07/2016 i_ev, Stuart Brian

Appendi>< to Petition for PCRA ~ Vo|ume X
Appendix to Petition for Writ of Habeas Corpus and for Co|latera| Relief from Criminal Convictiori Pursuant to the
Post Conviction ReliefAct, 42 PA.C.S. 9541 et seq. - Voiume X

12 031£}7:'2016 Lev, Stuat‘t Brian
Appendix to Petition for PCRA - Vo|ume X|
Appendix to Petition for Writ of Habeas Corpus and for Coi|ateral Re|ief from Crimina| Conviction Pursuant to the
Post Conviction Reiief Act, 42 PA.C.S. 9541 et seq. - Vo|ume Xl

13 03/07/2016 Levl Stuart Brian
Appendix to Petition for PCRA - \/oiume Xii
Appendix to Petition for Writ of Habeas Corpus and for Coliateral Reiief from Crimina! Conviction Pursuarit to the
Post Conviction Re|ief Act, 42 PA.C.S. 9541 et seq. - Vo|ume Xit

14 03107/2016 i_ev, Stuart Brian
Appendix to Petition for PCRA -Vo|ume X|||
Appendix to Petition for Writ of Habeas Corpus and for Co||atera| Re|ief from Criminai Conviction Pursuant .to the
Post Conytctiori ReiiefAct, 42 PA.C.S. 9541 et seq. - VoEume X||l

15 03!{}7/2016 Lev, Stuart Brian
Appendix to Petition for PCRA ~ Vo|ume XlV

1 03/09/20*§6 Fintey, Jeffrey L.
Order Granting |V|otiori for Writ of Habeas Corpus - Ad Prosequendum

Order dated 3/9/2016t0 be issued to the Warden at SCl Greene requiring him to produce the body of Alfonso
Sanchez on 4/19/2016 at 930 a.m.

1 04/66!2016 Buci<s County District Attorney‘s Ofiice
Commonwea|tn's Answer is Opposition to Petition for Post-Conviction Relief

 

 

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Recent entries made in the court ming offices may not be immediately reflected on these docket sheets. Neittter the courts of the Uniiied Judicial
System of the Commonweatth ot Pennsytvanla nor the Administrative Office of Pennsytvania Courts assume any iiabiiity for inaccurate or delayed
data, errors or omissions on these reports Docket Sheet lntormation should not be ased in place of a criminal history background check which can
only be provided by the Pennsylvania State Police. Moreover an emptoyer who does not compiy with the provisions of the Crimtnal History Record
information Act may be subject to civil |iabiitty as set forth in 18 F'a.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 48 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 
  
   

pocket Number: cP-os-cR-0001136-2008
CRiM|NAL DOCKET

Court Case
Commonwea|th of Pennsy|vania
V Page 27 of 43
A|fonso Sanchez

j|j
Seguence Number CP Fiied Date Document Date Fiied By
1 04/19:'2016 Lev, Stuart Brian
Motion for Leave to Amend and Suppiement F’etition for Writ of Habeas Corpus
fwd to court

Returned to file
2 04i19l2016 Rubenstein, Aian lVl.
F‘CRA Hearing |-Eeld
PCRA Petition for Discovery Denied. The following Were Grarited: Ccpies of 4discs of crime scene photos,
Policy for protocol of stun device, visitor logs from BCCF/Berks. '
1 05ft 312016 Rubenstein. Alan M.
Order Scheduling Hearing
AND NOW, this 11th day of May, 2016, bearing upon the PCRA upon agreement of counse|, is scheduled for
Wed. 7/13)'2016, at iO:OGa.m. in Cztroom #340, Bucks County Justice Center, 100 N. Nlain Street. Doy|estown,
PA.
`t'he Sheriff is directed to Transport Alfonso Sanchez to the Bucks County Justice Center for this Hearing.
in Comp|iance with the cooperation agreement relating to confiicts of counsel in the five-county Southeastern
Area, including the US District Court for the Eastern District of PA, the Court Administrator for Bucks County is
ti)irected to Notify these courts ot your attachment in Bucks County forthis speciai |isting.

Copy of Order iwded to Steven B. Lev, Esquire
Bucks County Court Administration

05l13120t6
Bucks County Sheriif
0511 312016
Commonweatth ct Pennsyivania
05!13/2016
Lev, Stuait Brian
05113/2016

1 06103/2016 Fin|ey. Jetirey i.‘
Order Granting Motion for Writ ot Habeas Corpus - Ad Prosequendum

Order dated 6.'3/2016t0 be issued to the Warden at SCl Greene requiring him to produce the body of Atfonso
Sanchez on 7/13/2016 at 10:00 a.m.

 

 

 

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Recent entries made in the court fitth offices may not be immediately reiiected on these docket sheets. Neitiiar the courts of tha Liniiied Judiciat
Systern ct the Commonweaiih of Pennsylvania nor the Administrative Oince of Pennsylvania Courts assume any liability for inaccurate or delayed
data, errors or omissions on these reports Dcci<et Sheet information snoutd not be used in place of a criminal history background check which can
cniy be provided by the Pennsylvania State Police. Moreover an employer who does not compty with the provisions ot the Criminat History Reoord
information Aot may be subject to civil liability as set forth in ta Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 49 of 64

 

COURT OF COiVlN|ON PLEAS OF BUCKS COUNTY

     
 
  

1 Docltet Number: -C-.P-OS-CR-0001136-2008
CR|M|NAL DOCKET

Court Case

Commonweaith of Penns |vania
V y Page 28 of 43

 

Seguence Number CP Fiied Date Document Date Fiied By
1 06106/2016 Lev, Stuart Bn'an

Appendix to Peiition for Writ cf Habeas Corpus and for Collaterai Reiief - Vo|ume XV
Appendix to Petitl'on for Writ ot Habeas Corpus and for Collaterai Relief from Criminai Conviction Pursuant to the
Post Conviction Re|ief Aot, 42 PA.C.S. 9541 Et Seq. Vo|ume XV

t 061'20/2016 Bucks County Court Reporter
Trans fried for April 19, 2016 originai only filed by Tecla Sota (145 pages)
Mandamus signed on 818[2016

1 07113/20t6 Rubenstein, Aian lVl.

Order Granting Continuance of Hearing
PCRA t-tearing to be continue to date agreed upon by Counsel.
2 07l‘i 312016 Court cf Common Pleas - Bucks
County
Exhibits Fiied
D4- large binded booktets (not scanned}

1 07115!2616 Ftubenstein. A|an M.

Order Scheduling Hearing
AND NOW, this 14th day of Juiy 2016, hearings upon this PCRA petition are scheduled ior `t'hursday, September
29 and Friday, September30, 2016 at 10 am in Courtroom 340.
Bucks County District Attorney

07118/2016
Le\lrl Stuart Brian
07118/2016
1 07/29/2016 Lev, Stuart Brian
Motion to Resct\eduie Evidentiary Hearing dates
FWD to Court
2 08101:'2016 Rubenstein, Alan |Vl.

Order Scheduiing i-iearing
Order did 71291'16the hearing upc this PCRA Petition previousiy scheduled for Thursday, September 29, 2016
and Friday September 3. 2016 are continued at the request of petitioners counsel and without opposition by the
Commonweaith. These hearings are re-schedu|ed for Tuesday, November 1and Wednesday, November 2,
2016 in Courtroorn 340.

 

 

CPCMS QOB?. Printed: 06/27!2018

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System of the Commonweaith of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or deiayed
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Case 2:17-cv-00763-l\/|PK Document 55-3 Fiied 07/09/18 Page 50 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY
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Court Case

Commonweaitn of Pennsyivania

Page 29 of 43
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Seguence Number CF’ Fiied Date Document Date Fiied By

Service To Servtce By
issue Date Service Tyge Status Date Service Status
1 09127/2016 Bucks County Court Reporter

Trans filed for Ju|y 13, 2016 original & 1 copy iiied by Denise Fedely-VanWy (221 pages)
Sanchez, Aifonso
09!271'20i6

1 10/18/2016 _ Fin|ey, Jeffrey iwl
Order Granting Motion for Writ of Habeas Corpus - Ad Prosequendurn
M|SC hearing scheduled 1111/2016 at 9:30 am

1 11102)'2016 Rubenstein, Alan lVl.
Order Granting Continuance of Heating
Csae to be continued to a date agreed upon by Counse|.

2 11/02:'2016 Court of Common Pieas - Bucks
County
Exhibils Fiied
1 11/28,"2016 11122/2016 Rubenstein, Alan lVl.

Order Scheduling Hean'ng
And Now, this 22nd day of November, 2016. Hearings up this i:’ost~Conviotion Act Petition, are scheduied for
Thrusday, January 26, 2017 and Friday, January 27, 2017 at 10:00arn in courtroom 340, Bucks County Justice
Center, 100 N. Main Street, Doylestown, PA.
The Shen`f'f of Bucks County is directed to Transcpoit the defendant to the Bucks County Justice Center for this

 

hearing.
Bucks County Court Administration
t tf2912016 E-Nlaii
Bucks County District Attomey's thce
ttf29)'2016 ` E-l‘vtai|
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Case 2:17-cv-00763-l\/|PK Document 55-3 Fiied 07/09/18 Page 51 of 64

 

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Docket Nur-nber-: CP-09-0l?a0001136a2008‘
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Court Case

 
   

  
   

 

 

Commonwealth of Pennsyivania
F’age 30 of 43

 

 
     

 

V.
A|fonso `_S
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Seguence Number CP Fiied Date Document Date Fiied By
Service To Service By
issue Date Service Type Status Date Service Status
Bucks County Sheriff
11129!2016 E~Nlail
Lev, Stuart Bn'an
11/29:'2016 First Ciass
1 12108)'2016 Bucks County Court Reporter
trans Fiied for November 2, 2016 original only fried by Mary F Saiie (154 pages)
1 01105/2017 Fiinleyl Jeffrey L.
Order Granting Motion for Writ of Habeas Corpus - Ad Prosequendum
MlSC hearing 1126)'20'|7 at 10 am
Bucks County District Attorney
01[05/2017
Bucks County District Attomey's Off'ice
131/0512017
1 01127/2017 01126/2017 Rubenstein, Aian l‘vt.

Order Granting Post»Conviction Reiief Act Petition
And Now, this 26th day of January, 20i7, by agreement of the parties it is hereby ordered that Petitioner is
GRANTED relief pursuant to tl'te Post Conviction Reiief Act. 42 Pa. C.S. 9541, et seq. The previous judgement of

sentence, imposed on October 22, 2008, is vacated and a new triai is Ordered.
Bucks County District Attorney

01/27)'2017
Finiey, Jeffrey L.
. 01/27/2017
Levl Siuart Brian
01127!'2017
1 02.'06,'2017 Bucks County Court Reporter
Trans fiied for January 26, 2017 original oniy fried by Tecla Soia (13 pages)
1 02121/2017 Sanchez, Alfonso
Pro Se i\llotion Fiied
"Ntotion for Double Jeopardy Pursuant to 18 Pa.C.S.iOQ(q) and Consoiidated Memorandum" filed pro se.
Sent defendant 576(a4) letter.
Placed in file.

 

Sent Copies to Stuart t_ev, Federa| Community Deienders Ofiioe and to the Bucks County District Attorneys Office.

 

CF‘CMS 9082 Printed: 06127!2(]18

Recent entries made in the court tiling ofnces may notice immediately reflected on these docket sheets. Neitner the courts of the Unltied Judicial
System of the Commonweaith of Pennsyivania nor the Administrative Off'tce of Pennsytvanla Courts assume any liability for inaccurate or detayed
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Case 2:17-cv-00763-l\/|PK Document 55-3 Fiied 07/09/18 Page 52 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 

Docket Number: CP-DS-CR-0001136-2008
CR|M|NAL DOCKET

Court Case

 

Commonweaith of Pennsyivania
V Page 31 of 43
Alfonso Sanchez

 

Seguence Number CP Fiied Date Fiied By
1 02127/2017 Bucks County District Attorney‘s Oftice

Motion for l-iearing to Appoint Counse| and/or Schedu|e `l'rial Date
fwd for considerationl

1 03102)'2017 Lev, Stuart Brian
Deiendant’s Response to Cornrnonwea|tif's Motion for Hearing to Appoint Counsel
Fwd to court
1 04/03/2017 Rubenstein. Aian M.

Case Correspondence
Letter written from Judge Rubenstien to DA and Lev, Esq, enclosing copy of pro se "N|otion for Doubie Jeopardy"

filed by defendant
Bucks County District Attorney
03131!2017
Lev, Stuan Brian
03131}2017
1 04/10)'2017 Sanchez, Alfonso

lVlotion to Vacate Appointment
Fiied by Atty Abaza

2 04/10/2017 Bateman, Waliace t~l. Ji'.

Order Granting tvlotion for Appointment of Counse|
Jonas and At)aza are court appointed

1 04/25/20t7 Bateman. Waltace t-t. Jr.

Order Granting Nlotion for Change of Counsei
Shan'f Abaza is hereby vacated and Francis Genovese is appointed as counsel for defendant The appointment

of Charies Jonas is unaffected by this order.

 

 

 

1 05)'051'2017 Bucks County District Attorney
Motion for Status i~learing
fwd to court
2 05)'05/2017 Genovese, Francis donn
Ehfry of Appearance
cPcMs soaz Prinieci: osrzr.'zota

Recent entries made in the court filing oches may not be immediately refiected on these docket sheefs. Neither the courts of the Unitied Judicial
System of tire Commonweaiih of Pennsylvania nor the Administrative Orf”ice of Pennsylvania Courts assume any liability for inaccurate or deiayed
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Case 2:17-cv-OO763-l\/|PK Document 55-3 Fiied 07/09/18 Page 53 01 64

 

COURT OF COMN|ON PLEAS OF BUCKS COUNTY

 

pocket Number: cP-os-cR-oooi136-2ooa
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Court Case

 

Commcnweaith of Pennsyivania
v.
Alfonso Sancnez

Page 32 of 43

 

Seguence Number CP Fiied Date Document Date Fiied By
1 05109!2017 Genovese, Francis John

Request for Biil of Particuiars

2 05:'{}9."2017 Genovese, Francis John
Request for Pre-Tn'ai Discovery

1 05/10/2017 Genovese, Francis John
Certincation of Defense Counse| in Capital Case

i 05/1 112017 Jonas, Chanes D.
Cer'tihcation of Defense Counsel in Capital Case

1 0511 812017 Bucks County District Attorney's Ofiice
Discoverable materiais (cover letter only)

‘l 06/06/2017 06196!2017 Rubenstein, A|an iv'l.
OrderFiled
And Now, this Bth day of June, 2017, counsel for the defendant shall provide a written Ceitification specifying
their "Qualifications for Defense Counsel in Captiat Cases“ in accordance with PA Ruie of Criminal Prccedure
801.
lncluded with this Certifrcation shalt be documentary conhrmation that counsei for the defendant have

completed a “minirnum of 18 hours ct training reievant to represeniation in capital cases, as provided by the
Pennsyivania Continuing i_egat Eciucation Boar ."

it is also Ordered that counsel for the defendant shall tile a written Waiver of the Defendant's Right to a Speedy
Tria|.

The On'ginal of the Certincations and the written Waiver of the Defendant's Rights to a Speedy Tria| shali be
Hied With the Clerk of Courts, Crirninal Division, and copies shali be sent to the Attorneys for the Commonwealth
and this Court

2 06106}2017 ` 06}06/20'| 7 Rubenstein, Afan lVl.
Order Scheduiing Triai
And i\lowl this Sth day of June, 2017, the Triat in this matter is scheduled for: TUESDAY, OCTOBER 10, 2017 at
the Bucks County Justice Center {Courtroom to be determined), 100 North Main Street. Doylestown, OA 18901.
The Sherifi of Bucks County is directed to transport the defendant to the Bucks County Justice Center for Tria!.
in compliance with the cooperation agreement relating to conflicts of counsel in the Five~County Southeastem
Area, including the United States District Court for the Eastern District of Pennsyivania, the Court Administrath
for Bucks County is directed to notify these courts of your attachment in Bucks County for these Speoiat listings
Bucks County Court Administration

 

 

06/08!201 7 E-Mait
Bucks County District Attomey's Oifice
06!08!2017 E-Maii
CPCMS 9082 Pn'nted: 06127!2018

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only be provided by the Pennsylvania State Police. Moreover an employesr who does not compiy with the provisions of the Criminat History Record
[nformation Aot may be subject to civil liability as set forth in 18 Pa.C,S. Section 9183.

 

 

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 54 01 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

 

 

 

Docket Number: CP-GQ-CR-0001136-2008
CR|M|NAL DOCKET
Court Case

 

Commonweaith cf Pennsy|vania
v.
Alfonso Sanchez

Page 33 cf 43

 

Seguence Noini)er CP Fiied Date Document Date Fiied By

Service To Service E'»y
issue Date Service Tyge Status Date Service Status
Bucks County Shen'ff
06108/2{}17 E-Mail
3 06106!2017 Jonas, Charles D.

Motion For Seated Order
walked through for signature

1 06/08.'2017 Court of Cornrnon P|eas - Bucks
County
Notice Returned as Undeiiverable

Triai 10.'10.117 Notice - Defendants copy

2 06»'08/2017 Jonas, Charies D.
Sealed Entry
1 06113/2017 0611 212017 Rubenstein, Alan iV|.
Sealed Entry
1 06!14/2017 Bateman, Wailace H. Jr.
Seateci Er\try
t 06/26)'2017 Jonas, Charles D.
Ru|e 600 Waiver
1 09/05.'2017 Genovese, Francis John
Motion for Continuance
fwd to court
2 09105/20'i7 Bucks County District Attorney
Motion for Return of Exitibits
fwd to court
1 09/06/2017 Jonas, Chartes D.

Letter from Attorney Regardirtg lVlotion for Continuancei'Certiticaie of Service
Fwd to court with copy of iv‘lotion

 

 

CF'CMS 9082 Printed: 061'2712013

Recent entries made in the court filing offices may not be immediatety reflected on these docket sheets. Neither the courts of the Unitied Judicial
System of the Commonvvealth of Pennsy|vania nor the Administratlve Oft'ioe ct Pennsy|vania Courts assume any liability for inaccurate or delayed
data. errors or omissions on these reports. Docket Sheet information should not be used in place of a criminai history background check which can
only be provided toy the Pennsytvania State Poiice. Mcreover an emptoyer who does not comply with the provisions of the Crimlnal History Record
information Act may be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183_

 

 

 

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 55 01 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

   
  
     

Docket Number: CP-OB-CR~0001136~2008
CR|M|NAL DOCKET

Court Case

Commonweaith of Pennsylvania
v.
Alfonso Sanchoz

Page 34 of 43

Seguence Number CP Fiied Date Document Date Fiied By

1 09!071201 7 Bucks County District Attorney's Othce

Notice of intent to Caii Expert V\iitness
2 091'07:'2017 Bucks County District Attorney's Oihce
Discoverable materials (cover letter only)
1 . 09/13/2017 09/12:'2017 ` Rubenstein,Alan Nl.
Order Denying lViotion for Continuance
And Now, this iZth day of Septernber. 2017, the defendants request for a continuance is DENIED.
On June 6, 2017, this Court entered a written Order scheduling trial for Tuesday, October 10l 2017 and
continuing thereafter for a three week period. This date was pre-approved by all counsel after a meeting with the
Court.
Furthermore, this case was scheduled in compliance With the Cooperation Agreernent relating to confiicts ot
counsel in the live-county Southeastem region. including the United States District Court for the Eastern District
of Pennsylvania

2 0911 312017 09112/201 7 Rubenstein, Atan i\/|.
Order Directing Release of Exhibits
And Now, this i2th day of September, 2017, the Bucks County Clerk of Courts is directed to reteese the following
exhibits from the 2008 trial in the above-captioned case to the custody and control of the Warminster Police
Department to tie maintained by that Department as evidence in the instant matter:
C-iO, C-35, C-36, C-37, C-B£i to C-44, C-45, C-49, C-50, C-BO, C~56, C'58. C-59, C-62, C-70to C-72, C-73to
C-Bi, C-86, C-87, C-BB. C-SQ, C_QO, C-91, C-92, C-93, C-94l C-95, DS-4
1 09)'21.12017 Jonas, Charies D.
Motion for Continuance
Walked through
1 09/22/2017 Finley, Jefirey t_.
Order Granting Motion for Writ of Habeas Corpus - Ad Testihcandum

t 09/25/2017 Bucks County District Attorney‘s Oftioe
Nlotion in i_imine
iwct to court
t 09126/2017 Bucks County District Attorney's thce
Commonwea|th's Requested Points for Charge

2 09126}2017 Bucks County District Attorney's Of'iice
Answer in Response to Defendant‘s Subsequent Niotion for Continuance and Hearing

 

 

CPCMS 9082 Prirtled; 06127!20?8

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System of the Cornmonwea|th of Pennsyivania nor the Administrative Otfrce of Pennsy|vania Courts assume any liability for inaccurate or delayed
data, errors or omissions on these reports Docket Sheet information should not be used in piace of a criminal history backgroond check which can
only be provided by the Pennsytvania State Police. Moreover an employer who does not comply with the provisions of the Crimlnal i-iistory Record
information Act may be subject to civil iiabitity as set forth in 18 Pa.C.S. Section 9103.

 

 

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 56 01 64

 

COURT OF COMN|ON PLEAS OF BUCKS COUNTY

   
 

pocket Number: cP-os-cR-oooit 36-2008
CRiN||NAL DOCKET

Court Case

 

Cornrnonweaith of Penns ivania
V y Page 35 of 43
Aifonso Sanchez

 
  
   

CP F lied Date Document Date

 

Seguence Number

1 09/28/2017 09/27/20‘17 Rubenstein, Aian M.
Order Denying Defendant's Subsequent t\riotion for Continuance and Hearing
And Now. this 27th day of September, 2017, the "Defendant‘s Subsequent Motion for Continuance and Hearing"

is DENIED.
The trial in this meter will proceed as scheduled on October tO, 2017,

2 09128/2017 donas, Charles D.
lVioiion Seeking Authorization to Hire a |Viitigation Expert Under Seai
Walked through
1 09/29/2017 Baternan, Wal|ace H. Jr.
Sealed Entry
Bucks County District Attorney
09/29/2017
donas, Charles D.
09/29)'2017

10102/2017 Bucks County District Attorney`s Ofi`lce

Notice of intent to Calt E><pert Witness
Genovese, Francis Jotin

10/03/2017
Rubenstein. Aian M.

10/03/2017

2 10/02.'20t7 Bucks County District Attorney‘s Office

Discoverable materials (cover ietter oniy)

1 101031201 7 Bucks County District Attorney‘s Offrce
Notice of intent to Cail Expert V\Atness

1 10}04/2017 Jonas, Charles D.

Defendant's Second Subsequent Nlotion for Continuance and Haaring
Walked through for signature

10765!2017 Bucks County District Attorney's Ofnce

Commonweaith‘s Proposed Voir Dire Ctuestions

 

 

 

CPCMS 9082 Prinied.‘ 06127/2018

Recent entries made in the court filing offices may not be immediately reflected orr these docket sheets. Neither the courts of the Unified Judicial
System of the Commonwealth of Pennsylvania nor the Administrative Ofnce of Pennsylvania Courts assume any tiabiiity for inaccurate or delayed
data, errors or omissions on these reports. Docket Sheet information should not be used in piece of a criminal history background check which can
only be provided by the Pennsylvania State Poiice, Moreover an empioyer who does not comply with the provisions of the Criminal rtistory Record
information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 57 01 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY

     

 

   

Docket Number: Cf’-OB»¢R-0001136~2003
CR|M|NAL DOCKET

Court Case

Commonwealth of Pennsylvania
Page 36 of 43

 

2 10105/2017 Bucks County District Attorney's Ottice

Commonwealtii's Suppiemental Motions in Lirnine

1 10111/2017 Bucks County District Attorney‘s Office
Answer in Opposition to Defendant's Motion to Disrniss on Doubie Jeopardy Grounds

2 1071 tl2017 Rubenstein, Aian N|.

Pre-Trial Hean'ng i-leld

Defendant remanded to the custody of the Sheriff
Doubie Jeopardy lVlotion - DENtED

Awaiting for Appeal to be fried

Proceeding heid in Abetance.

3 10111)'2017 Court of Common Pieas - Bucks
County
Exhibits Fiied
1 1071 31201 7 Genovese, Francis donn

Notice of Appeal to the Superior Court
From order entered 10ii1i17.

Superior Court of Pennsyivania -
Eastern District

16/16!201 7 Firsi Ciass

2 1011 312017 Genovese, Francis John
Order for Transcripts

3 10/13/2{}17 ' Garnbardel]a, Thomas Gary

Ven`fication of Continuing Status in Forma Pauperis

1 10!17!2017 Court of Commcn Pieas - Bucks
County
Exhibits Fiied
Voir Dire Seating Report 10/10117

 

 

‘i 10/20/2017 10120/2017 Bateman, Wailace H. Jr.
Seaied Entry
Bucks County Contro|ier's Ofiioe
iOi20/2017
cPcMs sosz Prirued: osrzrrzois

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information Act may be subject to civil iiabiiity as set forth in 18 Pa.C.S. Seclion 9183.

 

 

 

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 58 of 64

 

COURT OF CONIMON PLEAS OF BUCKS COUNTY

 
     

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CR|M|NAL DOCKET

Court Case

 

Commonweaith of Pennsylvania
v.

Page 37 of 43
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Seguence Number CP Fiied Date Document Date Fiied By

Service To Service By
issue Date Service Type Status Date Service Status
Jonas. Charles D.
10120!2017
1 10123!2017 Superior Court of Pennsyivania -

Eastern District
Docketing Statement from Superior Court
3368 EDA 2017

1 11703.'2017 Jonasl Charles il
Concise Statement of the iVlatiers Compiained on Appeai

1 1 1 1118/201 7 tilOB/20i7 Bateman, Waliace t-i. Jr.
Seaied Entry

Jonas. Charles i).
11l08[2017

1 11129/2017 11/28/2017 Bateman, Wailace H. Jr.
Seaied Entry
donas, Charles D.
11129/2017
1 t2l20/20i7 12120!2017 l-“tubenstein, Aian tvi.
Opinion
Bucks County Court Administration
1220/2017
Bucks County District Attorney
12120.'2017
Genovese, Francis John
t2l20i2017
Jonas. Chartes E).
t2i20/2017

 

 

CPCMS 9032 Prit'lied: 06.'271'2018

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System of the Commonwealth of Pennsylvania nor the Administrative Oft'ice of Pennsylvania Courts assume any liabiiity for inaccurate or delayed
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information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 

 

 

   

Case 2:17-cv-OO763-l\/lPK Document 55-3 Fiied 07/09/18 Page 59 of 64

 

 

COURT OF CONIMON PLEAS OF BUCKS COUNTY

  
  

 

Docket Number: CP-OB»CR-OOO'i 1 36~2008
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A[fonso Sanchez

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Seguence Number CP Fiied Date Document Date Fiied By

Service 'l'o ' Service By
issue Date Service Type Status Date Service Status

Superior Court of Pennsyivania -
Eastern District
12120!2017

Supreme Court of Pennsy|vania -
N|`Iddie District

 

12/20/2017
2 12120)'2017 Court of Common Pieas - Bucks
County
Service of the List of Record Documents Fiied
4 Boxes Sent to Superior Court.
Bucks County District Attomey
1212012017 E-Maii
Genovese, Francis John
12121}1'2017 First Class
donas, Charles D.
12120/2017 First Class
Rubenstein, Atan i\/i.
1 2120/2017 interoffice
Superior Court of Pennsylvania -
Eastern District
12120.12017 First C|ass
Superior Court of Pennsylvania -
Eastern District
12i20i20t7 First C|ass
Superior Court of Pennsylvania -
Eastern District
12120/2017 First C|ass
Superior Court of Pennsyivania -
Eastern District
12120/2017 First Ciass
3 1320/2617 Court of Common Pleas - Bucks
County
Ceniticate and Transrrrittal of Record to Appeilate Court
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COURT OF COMMON PLEAS OF BUCKS COUNTY

  
 
 

 

Docket Number: CP»OS~CR-OODHSS-ZOOB
CR|M|NAL DOCKET

Court Case

Commonweaith of Pennsy|vania
v.
Aifonso Sanohez

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Seguence Number CP Fiied Date Document Date Fiied By
4 12120/2617 Court of Common P|eas - Bucks
County

Comptete Record Sent to Appeiiate Court

1 12/`21-"2017 Court of Common F!eas - Bucks
County
Supptementai Record Seht to Appeiiate Court
* Exhibits
o Court-1

o D-i, D-2, D-3, D-4, D-5
Bucks County District Attorney

12121!20'!7 E~Ntait
Gambarcieiia, Thornas Gary

121211'2017 _ First Ciess
.ionas, Charles D.

12121:'2017 First Cfass
Ftubehstein, Aian M.

12!21!201 7 lnteroi'nce

Supen'or Court of Pennsylvania -
Eastern District

12/2‘1/2017 First C|ass
t 01/04/2018 Sanchez, Alfor'lso
Case Correspondence
To ti|e.
1 01/11/2018 Bucks County Court Re;)orter

Trans filed for october 10, 2017 original & 2 copies tiied by Den§se Fede!e-VanWhy (102 pages}
Mancfamus Signed tim/2018
Pa Board Of Probation & Paroie
01111:'20'§8
Senchez, A|fonso
011'111'2018
2 Gtit 1/2018 Bucks County Court Reporter
Trans hied for October 11, 2017 originai & 2 copies iited by Dehise Fedeie-VahWhy (234 pages)
Mandamus signed 11121'2018
Pa Board Of Probation & Paro|e
011'!1/2018
Sanchez, Aifonso

 

CPCMS 9082 Frinif-_‘d: 06127.'2018

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COURT OF CONI|V|ON PLEAS OF BUCKS COUNTY

  
  
 
 

 

Docket Number: CP-OQ-CR-0001136-2008
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Court Case

Commonweatth of Pennsylvania
Page 40 of 43

 

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issue Date Service Type Status Date Service Status
91!111'2018
1 01/2512018 Court of Common P|eas ~ Bucks
County

Suppiementai Record Sent to Appellate Court
Bucks County District Attorney

01/25/2018 E-Mail
Genovese, Francis .iohn

0t125I2018 First C|ass
Jonas. Charles D.

01125/2018 First Class
Robenstein. A|an M.

01125/2018 interoffice

Superior Court of Pennsylvania -
Eastern District
011'25/2018 First Ciass

 

 

 

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COURT OF COM|V|ON PLEAS OF BUCKS COUNTY

  
 
    

pocket Number: cP-os-cR-ooo1136-2008
CR|M|NAL DOCKET

Court Case

Commonwea|th of Pennsy|vania
Page 41 of 43

   

        

 

 

 

Paymerrt Plan No Payment F'ian Freg M Overdue Amt
MM M .i\_ie>.<i_i_lu_e_i_\sl§
09-2(}(}8-?{}0{}016164 Sing|e Payment 10122/2(]38 Yes $0.00
Sanchez, Aifonso No $622.20
Payrnent F’|an History: Receigt Date Payor Name Participant Roie ` Amount
01107]2009 Paymertt $23.34
01/09/2009 Payment _ $58.35
0611 512009 Payment $10.00
0611 912009 Payment $20.00
07/20/2009 Payment $11.50
07121:'2009 Payrnent $23.00
11117!2009 Payrrrent $15.16
1 1 i1 812609 Payment $66.60
12115/2{}{}9 Paymeni ${}.29
01)'21)'2{}1{} Payment $3.{}2
02116)'2010 Payment $2.59
03/09/2010 Payment $16.17
04115/2010 Payment $5.74
05/06/2010 Payrnent $2.74
06715112010 Payrnent $19.31
07{12/2010 Fayment $23.17
0811 312010 Payment $2.88
11109.'2010 Payment $47.17
121'1 412010 Payment $7.02
(]1[061'2011 Paymerlt $46.88
02/1 612011 F'aymerlt $6.74
05125/201 1 Payment $61.02
06127/2011 Payrnent $45.37
01115/2015 Payment Bucks County District Attorne Payor‘ $373.£¥0
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onty be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
information Aci may be subject to civil liability as set forth in 18 Pa.C.S. Sectton 9183.

 

 

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COURT OF COMMON PLEAS OF BUCKS COUNTY

  
  
 
 

 

Docket Number: CP-09-CR-0001136-2008
CRiNiiNAL DOCKET
Court Case

Commonwealth of Pennsylvania
Page 42 ot 43

 

   

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Las`t`Payrn-ent
Sanchez, Alfonso Assessrnent Paymenis Ad'ustments Non Moneta§y Ig_ta_i
E)eferrdant ,Flé_ly_rt,]§£f_$_
CostsfFees
Bucks Co. Witness Fee (Bucks) $11.44 -$11.44 $0.00 $0.00 $0,00
Bucks Co. Witness Fee (Bucks) $3.34 -$3.34 $0.00 $0.(]0 $D.DO
Bucks Co. Wilness Fee (Bucks) $6.68 -$6.68 $0.00 $0.00 $0.00
State Court Costs (Act 204 of 1976) n $11.75 -$9.19 $0.00 $0.00 $2.56
Commonwcaiih Cosi - HBB27 (Act 167 $17.60 -$13.77 $0.00 $0.00 $3.83
of 1992) '
County Court Cost (Act 204 of 1976) $25.65 -$20.06 $0.00 $G.G{} $5.59
Crime Victims Compensation (Aot 96 of $35.00 -$35.00 $0.0D $G.t}ti $0.00
1984)
Domestio Vio|ence Ccmpensalion (Act $10.90 -$7-82 $O.€it} $0.00 $2.18
44 of 1988)
Vtcii|'i't Witness Service {Aci 111 0f1998) $25.{}0 -$25.00 $0.00 $0.00 $0.00
Fireerm Edltcaiion and Training Fund $5.00 -$3.91 $0.00 $0.00 $1_09
Judicial Computer Project $8.00 -$8.60 $0.00 $0.00 $0.00
A`l'.i $2.00 -$2.60 $0.00 $0`.00 $0.00
[)NA Detectiot'l Fund (Aci 185-2004) $250.00 -$195.48 $0.00 $U.OO $54.52
Law Library (Bucks) $10.00 ~$10.00 $0.00 $0.00 $O.UO
Shen'tf Fee (Bucks) $5.00 ‘$5.00 $0.00 $0.00 $0.00
Autornation Fee (Bucks} $5.00 -$5.00 $0.00 $O.GG $0.00
Admin Fee (Bucks) $27.00 -$27.00 $0.00 $G.{i{} $G.GO
information Service Fee (Buci<s) $3.00 ~$3.00 $G.G{i $9.00 $t}.(}()
Costs of Prosecution - CJEA $50.{}0 -$39.07 $(l.t}t} $G.OO $10.93
Transportalion Fee (Bucks) $211.44 -$211.44 $G.G{} $0.00 $0‘0(}
transportation Fee (Bucks) $12‘7.14 -$127.14 $0.00 $0.00 $0.00
Transportation Fee (Bt.icks) $34.82 -$34.82 $0.00 $O.UO $U.DO
transportation Fee (Bucks) $6{}.37 -$60.37 $0.00 $0.00 $U.UU
Transportation Fee (Bucks) $19.93 -$19.93 $0.00 $0.00 $0_()0
Transportation Fee (Bucks) $78.29 $G.OG $0.00 $0.00 $78,29 `__
Transportatlon Fee (Bucks) $40.76 $0.0G $0.00 $0.00 $40,76}
Transportatlon Fee (Bucks} $81.58 $0.00 $D.OO $0.00 $81.58 ,
Transportation Fee (Bucks) $63.98 $0.00 $0.00 $O.GO $63.98
Transportation Fee (Buci<s) $130.92 $0.00 $0.00 $G.GG $130.92
Transportation Fee (Bucl<s) $42.58 $0.00 $0.00 $G.GG 342.56
Transportation Fee (Bucks) $92.77 $0-00 $0-90 $G-OO 592-77
cPoMs soez Prrnted: osizrizois

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information Aot may be subject to ctvii liability as set forth in 18 Pa.C.S. Section 9183.

 

 

Case 2:17-cv-OO763-|\/|PK Document 55-3 Fiied 07/09/18 Page 64 of 64

 

COURT OF COMMON PLEAS OF BUCKS COUNTY
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booker Number: cP-os-cR-0001136-2008
CR|M|NAL DOCKET

Court Case

Commonweaith of Pennsylvania
V Page 43 of 43
Ssiiclie§,

  

Sanchez, Alfonso Assessment Payments Adiustments Non Nionelag{ Totai
Defendant Paymerti$

Bucks Co. Witness Fee (Bucks) $10.64 $0.00 $0.00 $C|.OO $10.64

Costsi'Fees Totals: $1.506.66 -$884.46 $G.GO $0.00 $622.20

Grand Tota|$; $1,506.66 -$384.46 $0.00 $0.00 $622.20

** - indicates assessment is subrogated

 

 

 

CPCMS 9052 Pr'inted: 06}27!2{]18

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